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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 BRENDA SWEETLAND, on behalf of        )
 herself and all others similarly situated,
                                       )
                                       )
                   Plaintiff           )
                                       )
 vs.                                   )
                                       ) Case No. 1:21-cv-10759-LTS
 WHEELABRATOR SAUGUS, INC.,            )
                                       )
                   Defendant           )
                                       )
______________________________________________________________________________

PLAINTIFF’S MOTION TO REOPEN DISCOVERY AND AMEND THE SCHEDULING
  ORDER OR, IN THE ALTERNATIVE, STRIKE DEFENDANT’S DECLARATIONS

        NOW COMES Plaintiff Brenda Sweetland (“Plaintiff”), on behalf of herself and all others

similarly situated, by and through her attorneys, and move to reopen discovery for the sole and

limited purpose of determining the method of procurement and veracity of the Declarations

(“Declarations”) that defense counsel produced first on the eve of the close of discovery and then

again well after the close of discovery after admitting that some or all of the first set of declarations

were illegally forged and obtained. Counsel for Wheelabrator Saugus, Inc. (“Defendant”) provided

Plaintiff with troubling information regarding the reliability and validity of some of the

Declarations, and the alarming nature of this information casts doubt on the validity of all the

Declarations. As explained below, because at least 19 Declarations were “corrected” to remedy

allegedly forged signatures, all the Declarations should be subject to scrutiny regarding their

veracity. The following events have led to Plaintiff proffering this motion to request to reopen

discovery solely as it relates to the Defendant’s Declarations:

        1.      Beginning on July 13 and pursuant to the discovery schedule, Defendant produced



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the first batch of Declarations gathered from Saugus residents both within and outside of the

proposed Class Area, stating that they “do not ever notice noxious odors” or “unusual or unnatural

amounts of dust or ash” on their properties. Additionally, residents declared that they “enjoy

numerous activities outside” and that they do not think that “odors, dust, or ash” have in any way

affected their property values. [Exhibit 1].

       2.      Defendant provided Plaintiff with additional Declarations on July 19, 2022

producing a total of 39 Declarations on July 13 and 19.

       3.      The close of Class Certification discovery was scheduled to occur on July 22, 2022.

       4.      On July 20, 2022 Plaintiff served Defendant with Notices of Intent to Serve

Subpoenas to depose four (4) Declarants on August 15, 2022.           Defendant objected to the

Subpoenas arguing that they were untimely since the depositions would occur after the close of

discovery. [Exhibit 2].

       5.      At a previously scheduled Status Conference on July 26, 2022 this Court heard the

parties’ positions on the issue and ruled that the depositions of the four declarants could move

forward on Monday, August 15, 2022

       6.      On Friday, August 12, 2022, Plaintiff’s Counsel, Laura Sheets, received a telephone

call from defense counsel, Richard Oetheimer, indicating that he had just been informed that some

or all of the Declarations had been illegally forged. [Exhibit 3]. Mr. Oetheimer could not provide

additional details about who had procured the illegally forged declarations, or how many of the

declarations had been forged. [Exhibit 3].

       7.      Mr. Oetheimer also indicated that he did not believe that the four deponents would

appear for Monday’s depositions and requested an adjournment. This request was denied as

Plaintiff’s Counsel was interested in determining if those who had received the subpoenas had in



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fact signed their declaration. [Exhibit 3].

       8.      On August 15, not one of the subpoenaed individuals appeared for their depositions.

[Exhibit 3].

       9.      At no point since that telephone call on August 12 or since the four declarants failed

to appear for their deposition on August 15 has Mr. Oetheimer provided any additional details

about this situation including who procured these illegally signed declarations.

       10.     Instead, on August 31, 2022, well after the period for fact discovery closed on July

22, [Exhibit 4] Defendant made an additional disclosure of 19 Declarations, all of which were

duplicates of Declarations previously disclosed on July 13 and 19, but which had apparently been

redone, resigned, and otherwise “corrected” with different details to remedy the forgeries allegedly

tainting the originals. [Exhibit 5]. These additional corrected Declarations were seemingly

Defendant’s attempt to remedy the fraudulent Declarations that Defendant brought to Plaintiff’s

attention during the August 12 phone call.

       11.     After investing significant hours examining Declaration disclosures, Plaintiff

discovered that the corrected Declarations produced on August 31 feature stark and shocking

differences from the originals produced on July 13 and 19, including completely different

handwriting, dates, distances, and signatures. In some instances, even the printed names differ

between the original and revised versions. [Exhibit 6]. These differences are such that it is

impossible that the same person filled in both the July and August Declarations.

       12.     Many of the corrected Declarations completely omit or alter the distance that the

Declarant lives from Defendant’s Facility, with one example provided in Exhibit 7. Many

alternatively or additionally include discrepancies in the duration that the Declarant had lived at

their address, with one example provided in Exhibit 8. Finally, all the corrected Declarations



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feature inconsistent signatures between the original and corrected documents, with a particularly

striking example included as Exhibit 9.

       13.     Due to the events described above, Plaintiff’s Counsel has serious concerns that

Defendant has procured and relied on, fraudulent and untrustworthy Declarations that should not

be considered until Plaintiff has an opportunity to further conduct discovery concerning the

acquisition and accuracy of the Declarations.

       14.     Should the Court grant this request, Plaintiff seeks to adjourn the remaining dates

on the Scheduling Order by 45 days to allow for the additional discovery.

       15.     In the alternative, in light of the fact that some or all of the Declarations were

illegally forged, Plaintiff request that this Court strike them from the record and not permit their

use in future filings by the Defendant.

       WHEREFORE Plaintiff respectfully requests that this Honorable Court GRANT Plaintiff’s

motion to reopen discovery on the sole and limited issue of determining the source and veracity of

the Declarations, including by conducting depositions and issuing interrogatories. To the extent

that this request is granted, Plaintiff requests an extension of the current scheduling order by 45

days to allow for the requested discovery. In the alternative, Plaintiff respectfully requests that

this Honorable Court STRIKE all declarations from the record as untrustworthy and lacking

foundation.

Dated: October 6, 2022                          Respectfully submitted,

                                                s/ Laura L. Sheets
                                                Steven D. Liddle*
                                                Laura L. Sheets*
                                                Matthew Z. Robb*
                                                *Admitted Pro Hac Vice
                                                LIDDLE SHEETS COULSON PC
                                                975 E. Jefferson Avenue
                                                Detroit, Michigan 48207-3101

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                            Tel: (313) 392-0015/Fax: (313) 392-0025
                            sliddle@lsccounsel.com
                            lsheets@lsccounsel.com

                            mrobb@lsccounsel.com

                            William P. Doyle, III, BBO #556999
                            COLONNA, DOYLE & SIMEOLA
                            26 Main Street, 3rd Floor
                            Lynnfield, MA 01940
                            (781) 245-1127
                            bill@colonna-doyle.com

                            Attorneys for Plaintiff and the putative Class




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                   Exhibit 1

19 Original Declarations




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                    Exhibit 2

Email from Defense Counsel
Re: Opposition to Declarant
        Depositions




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From:             Laura Sheets
To:               Reed Solt
Subject:          FW: Sweetland v Wheelabrator Case No. 21-cv-10759-LTS
Date:             Wednesday, October 5, 2022 1:38:49 PM
Attachments:      image001.png




From: Oetheimer, Richard A <ROetheimer@goodwinlaw.com>
Sent: Wednesday, July 20, 2022 5:59 PM
To: Laura Sheets <LSheets@lsccounsel.com>; Albert Asciutto <AAsciutto@lsccounsel.com>
Cc: Evans, William <WEvans@goodwinlaw.com>; Perez-Sparks, Sierra
<SPerezSparks@goodwinlaw.com>
Subject: RE: Sweetland v Wheelabrator Case No. 21-cv-10759-LTS




Counsel,


Defendant’s position is that plaintiff’s proposed subpoenas for fact witness depositions on August
15, 2022, after the July 22 close of class certification fact discovery, are out of time under the Court’s
September 2, 2021 Scheduling Order, and you will be in violation of the Court’s Order if you serve
the subpoenas without first obtaining relief. It can be raised with Judge Sorokin at the July 26
Conference.


Richard A. Oetheimer


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o +1 617 570 1259
f +1 617 801 8747
ROetheimer@goodwinlaw.com | goodwinlaw.com




From: Bethany Favaro <bfavaro@lsccounsel.com>
Sent: Wednesday, July 20, 2022 4:59 PM
To: Oetheimer, Richard A <ROetheimer@goodwinlaw.com>; Evans, William
<WEvans@goodwinlaw.com>; Perez-Sparks, Sierra <SPerezSparks@goodwinlaw.com>
Cc: Albert Asciutto <AAsciutto@lsccounsel.com>; Laura Sheets <LSheets@lsccounsel.com>
Subject: Sweetland v Wheelabrator Case No. 21-cv-10759-LTS
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***EXTERNAL***
Good afternoon,

Attached please find Plaintiff’s Notice of Intent to Serve Subpoenas which we mailed today.

Thank you,

Bethany Favaro | Paralegal
Liddle Sheets Coulson P.C.
975 E. Jefferson Avenue, Detroit, MI 48207
Tel: 313 392 0015 | Fax 313 392 0025

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                   Exhibit 3

Laura L. Sheets Affidavit




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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


 BRENDA SWEETLAND, on behalf of
 herself and all others similarly situated,

             Plaintiff                                  Civil Action No. 21-cv-10759-LTS

 v

 WHEELABRATOR SAUGUS, INC.,

             Defendant



                           DECLARATION OF LAURA L. SHEETS
       I, Laura L. Sheets, do hereby declare as follows:
       1.      I am an attorney and partner at the law firm of Liddle Sheets Coulson P.C. My firm

was retained by Plaintiff Brenda Sweetland to represent her, on behalf of herself and all others

similarly situated in this matter, against Wheelabrator Inc. (“Defendant”) relating to claims arising

from Defendant’s repeated, widespread nuisance odor emissions into neighboring properties in

Saugus, Massachusetts.

       2.      For the purposes of this matter, I have associated with William P. Doyle of Colonna

& Doyle to represent Plaintiff and the Class in this matter.

       3.      I make these statements based on personal knowledge and in support of Plaintiff’s

Motion to Reopen Discovery.

       4.      Prior to the close of discovery, Defendant obtained and disclosed 39 Declarations

from Saugus citizens on July 13 and 19 in which the Declarants swear under penalty of perjury

that they “do not ever notice noxious odors” or “unusual or unnatural amounts of dust or ash” on




                                                 1
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their properties. Residents also declared that they “enjoy numerous activities outside” and that they

do not think that “odors, dust, or ash” have in any way affected their property values.

          5.    On July 20, Plaintiff served Defendant with Notices of Intent to Serve Subpoenas

to depose four (4) Declarants on August 15. Defendant objected to the Subpoenas arguing that,

because they would not occur until after the close of discovery, the depositions would be untimely.

          6.    At a previously scheduled Status Conference on July 26th, this Court heard the

parties’ positions on the issue and ruled that the depositions of the four declarants could move

forward on Monday, August 15th.

          7.    On August 12, I received a telephone call from defense counsel, Richard

Oetheimer, indicating that he had been informed that some or all of the Declarations had been

illegally forged and did not contain authentic signatures or information from the purported signer.

          8.    Mr. Oetheimer stated that he did now know and could not provide additional details

about who had procured the illegals forged declarations or how many of the Declarations had been

forged.

          9.    In the same August 12 telephone call, Mr. Oetheimer indicated that he did not

believe that the four deponents would appear for their August 15 depositions and requested an

adjournment. I denied this request, as I was interested in determining if those who had received

the subpoenas had in fact signed the Declarations purporting to bear their signatures. I additionally

wished to ascertain through these depositions who had procured the Declarations and other details

as well.

          10.   None of the subpoenaed individuals appeared for their August 15 depositions, and

at no point since the August 12th telephone call has Mr. Oetheimer provided any additional details




                                                 2
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about the declarations, including who procured them and/or how many featured illegally forged

signatures.

       11.    I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 5th Day of October 2022 in Detroit, Michigan.

       Dated October 5, 2022

                                                     /s/ Laura L. Sheets_____
                                                     Laura L. Sheets




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                    Exhibit 4

Email From Defense Counsel
 Re: August 31 Production




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Reed Solt

From:                 Laura Sheets
Sent:                 Tuesday, October 4, 2022 1:29 PM
To:                   Reed Solt
Subject:              FW: Sweetland v. Wheelabrator Saugus, Inc.
Attachments:          Saugus Resident Declarations.zip




From: Oetheimer, Richard A <ROetheimer@goodwinlaw.com>
Sent: Tuesday, August 30, 2022 4:15 PM
To: Laura Sheets <LSheets@lsccounsel.com>; Matt Robb <MRobb@lsccounsel.com>
Cc: Breitling, Amy <ABreitling@goodwinlaw.com>
Subject: Sweetland v. Wheelabrator Saugus, Inc.



Laura and Matt,

Attached are 19 Declarations signed by Saugus residents previously identified in WSI’s Rule 26 Supplemental Disclosures
served on July 12, 2022.

Saugus residents Joseph Dennis Gould, Karlin Moore and Anthony Cogliano and all 17 Revere Declarants signed the
Declarations provided on July 12.


Richard A. Oetheimer


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f +1 617 801 8747
ROetheimer@goodwinlaw.com | goodwinlaw.com




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                   Exhibit 5

19 Corrected Declarations




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                    Exhibit 6

     Different Name
Copper/Cooper Declaration




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                   Exhibit 7

    Different Distance
  Fernandez Declaration




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                    Exhibit 8

    Different Duration
Richard Nuzzo Declaration




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                   Exhibit 9

       Different Signature
       Serino Declaration




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